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                                                                   01/04/2021
                                                             U.S. DISTRICT COURT
                                                           SOUTHERN DISTRICT OF INDIANA
                                                              Roger A.G. Sharpe, Clerk




                                                   1:21-cv-0022-JRS-MJD
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